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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
                                                UNREDACTED VERSION
                   v.
                                                UNDER SEAL
PAUL J. MANAFORT, JR.,
                                                Crim. No. 17-201-1 (ABJ)
Defendant.



                         DECLARATION IN
                   SUPPORT OF THE GOVERNMENT’S
               BREACH DETERMINATION AND SENTENCING


      I, Jeffrey Weiland, hereby declare as follows:

      A.     Background

      1.     I have been a Special Agent with the Federal Bureau of Investigation

(FBI) since March 2008. I am currently assigned to the Special Counsel’s Office. As

a Special Agent, I have previously investigated crimes including the corruption of

public officials, arson, forced labor trafficking, racketeering, and terrorism. Prior to

my employment with the FBI, I worked for seven years as an attorney, including

clerkships with the United States Court of Appeals for the Fifth Circuit and the

District Court for the Northern District of Illinois.

      2.     I submit this declaration pursuant to the Court’s Order dated January

8, 2019, to provide the evidentiary basis to support finding the defendant’s

statements set out below were false. I have relied on my own work and that of other

members of the team on this matter. This declaration does not contain all the

evidence compiled by the FBI on these issues.


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         3.    Paul J. Manafort, Jr., attended proffer sessions with the Special

Counsel’s Office and the FBI on September 11, September 12, and September 13, and

debriefings on September 20, September 21, September 25, September 26, September

27, October 1, October 5, October 11, and October 16. Manafort also testified in the

grand jury in the District of Columbia on October 26, 2018 and November 2, 2018.

Defense counsel was present in all the above sessions except Manafort’s testimony

before the grand jury, due to the law regarding grand jury secrecy. Counsel was

present outside the grand jury and available to Manafort. At the outset of the

sessions, Manafort was advised that lying to the government could subject him to

prosecution.

         4.    I participated in each of the proffers and debriefings. The reports I

prepared of these sessions summarized information Manafort provided and are not

verbatim recitations of the sessions. Similarly, the statements reported herein set

out the substance of the statements, and are not verbatim.

    I.         Payment To WilmerHale (“Wilmer”)

               Overview

         5.    After signing the plea agreement, Manafort lied about a $125,000

payment made in June 2017 to WilmerHale (“Wilmer”), a law firm that represented

Manafort until August 2017. Records establish that the $125,000 payment came

from a

                                    worked for the




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             ). 1 Manafort has had a long relationship with the head of

                    and the head of the                                         2


       6.      In the summer of 2016, Manafort had been instrumental in setting up

the         and having        run it. 3 The          had engaged          at Manafort’s

suggestion and           performed                                        during the 2016

presidential campaign. The              gave          approximately $19 million for

      . 4 Under the terms of the contract between               and the                  was to

receive a 6% commission on all                       . 5 According to               half of the

commission was to be provided to               although this was not reflected in the

written contract. 6

               Manafort’s False and Misleading Statements

       7.      Manafort made, seriatim, inconsistent statements to the government

when asked about the payment: (1) on September 20, 2018, he said it was

repayment of a loan from Manafort to                 which Manafort instructed              to pay

Wilmer because Manafort owed Wilmer money for its legal services; 7 (2) on October

1, 2018, he said it was money                  was paying on Manafort’s behalf because


1 See Exhibit 1, payment records from WilmerHale; Exhibit 2, Eagle Bank wire confirmation.
2 See Exhibit 3, P. Manafort 302, Oct. 1, 2018, p.1 ¶4; Exhibit 4, P. Manafort Grand Jury Testimony,
Oct. 26, 2018, p.253.
3 See Exhibit 5,             302, Dec. 12, 2017, p.16 ¶2 and p.17 ¶1.
4 See Exhibit 6, excerpts of      bank records.
5 See Exhibit 7,       Consulting Contract with         Exhibit A.
6 See Exhibit 8,             302, Nov. 6, 2018, p.1 ¶2.
7 See Exhibit 9, P. Manafort 302, Sept. 20, 2018, p.6 ¶2 (“     paid about $50,000 to $60,000 towards
Manafort's legal bill.     owed Manafort the money.”); Exhibit 4, P. Manafort Grand Jury Testimony,
Oct. 26, 2018, pp. 254-57




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Manafort had given                 work in the past, and Manafort asked                     to pay

what he owed Manafort directly to Wilmer; 8 and (3) on October 16, 2018, he said

Manafort requested                 to give the money to Wilmer, which would constitute a

loan from              to Manafort, which Manafort would repay                      .9

               Proof Of Manafort’s False And Misleading Statements

       8.      The falsity of the first explanation provided by Manafort is evidenced

by, among other things, that:              not         made the payment to Wilmer; the debt

     owed Manafort (as reflected on Manafort’s books and records) was $20,000, not

$125,000; 10 and Manafort changed his explanations after Manafort was told the

above facts.

       9.      The falsity of the second version provided by Manafort is shown by,

among other things,                  statements to the government, corroborated by

payment records and text messages.                      told the government that the

payment was not money he owed Manafort for work Manafort had obtained for

            Instead,             said he made the payment to Wilmer because he was

instructed to do so by                      told the government that            hired         to

work for the         on the condition that            personally receive half of the 6%



8 See Exhibit 3, P. Manafort 302, Oct. 1, 2018, p.1 ¶4 (“        rationalized that the money he paid
to the law firm had come from the money he earned working for the            Manafort has given
          millions of dollars in business over the years.”) Manafort said the payment was declared as
income to Manafort, and not treated as a gift. See Exhibit 3, P. Manafort 302, Oct. 1, 2018, p.2 ¶1.
Manafort explained that the reason he had previously mentioned           was because Manafort asked
     to ask           to pay Wilmer, and when        spoke to                   said he would deal
with Manafort directly. See Exhibit 9, P. Manafort 302, Sept. 20, 2018, p.6 ¶2.
9 See Exhibit 10, P. Manafort 302, Oct. 16, 2018, p.3. ¶3 (“               paid Manafort's attorneys.
Originally, they planned for the payment to be a loan. Last year, they executed a note with a
payment plan including interest. Manafort did not do any work for the money.”)
10 See Exhibit 11, DMP International, LLC Financial Statements.




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commission due            under the contract. The contract between              and the

did not record the “commission” split with                          said that     held the 3%

“commission” for          and        directed             how to spend it.          followed

       instructions and directed             payment to Wilmer from             3% funds.

          did not know why           directed the money to be paid to Manafort’s lawyers.

          also did not know if          and Manafort had a separate commission

agreement. 11                statements are corroborated, among other things, by text

messages between Manafort and                in which Manafort provided          with routing

information for payment.            replied with the bank tracking numbers for the

payment. 12

       10.      Manafort’s third version, that the $125,000 was a loan by                    to

Manafort, is belied by, among other things: the statements of both                          and

Manafort’s tax preparer; Manafort’s e-mail to his tax preparer; Manafort’s tax return;

and Manafort’s lack of repayment of the “loan.”

       11.      Manafort offered the “loan” explanation on October 16, 2018, three-and-

a-half-weeks after he was first asked about the payment. Another week and a half

later, Manafort provided the government with an unsigned promissory note, dated

September 14, 2017 (             payment to Wilmer was in June 2017), which included a

payment schedule. The last of the three scheduled payments, totaling $131,249.96,

was due on September 15, 2018. 13 Manafort stated that only one payment was ever



11 See Exhibit 8,            302, Nov. 6, 2018, p.1 ¶2 and p.2 ¶4.
12 See Exhibit 12, P. Manafort and         Text Messages, June 20-29, 2017.
13 See Exhibit 13, alleged promissory note.




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made to               in the amount of about $6,000 within the last month. Manafort

stated that the payment was subsequent to, but not because of, the government’s

inquiry about the $125,000 payment. 14

       12.                told the government that he did not make a loan to Manafort;

instead, he made the payment to Wilmer because he was instructed to do so by

on behalf of Manafort, as noted above. 15                    stated that he did not loan or gift

any of his own money to Manafort or Manafort’s counsel. Further,                         said when

asked to contribute his own money to Manafort’s legal defense,                             declined.

Finally,            said that he has never received any payments directly or indirectly

from Manafort. 16

       13.     Similarly, Manafort’s tax preparer denied knowing the payment was a

loan. In September 2017, Manafort e-mailed his tax preparer instructing him to treat

the $125,000 payment as “income” (which would be consistent with the payment

being a “commission” given to Manafort from                    3%). Manafort stated in that e-

mail that he made the “vendor pay directly to [Wilmer],” “because of complications in

my banking.” 17 The tax preparer accordingly included the $125,000 as income in

Manafort’s 2017 tax return, although he did not know the factual circumstances that

would warrant treating it as income. 18               In October 2018, after the government’s


14See Exhibit 10, P. Manafort 302, Oct. 16, 2018, p.3 ¶3.
15See Exhibit 8,             302, Nov. 6, 2018, p.1 ¶2 and p.2 ¶4; Exhibit 4, P. Manafort Grand Jury
Testimony, Oct. 26, 2018, pp. 247-48

16 Exhibit 8,            302, Nov. 6, 2018, p.2 ¶6 and p.3 ¶¶1-2.
17 See Exhibit 14, E-mail, Sept. 24, 2017, P. Manafort to              (“This is income for 2017.”)
18 See Exhibit 15, excerpt of P. Manafort’s 2017 filed tax return; Exhibit 16,               302, Nov.
14, 2018, p.1 ¶4.



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inquiry to Manafort about the $125,000 payment, a Manafort representative e-mailed

the tax preparer asking him how the “note” was handled. The representative also

provided him with an unsigned loan document with respect to the $125,000 payment,

claiming that interest payments were made this year. 19 The tax preparer told the

government that the October 2018 e-mail inquiry was the first he had ever heard that

the payment was a purported loan. He did not change anything on the return based

on the e-mail. 20


       II.         Konstantin       Kilimnik’s       Role        in   The   Witness     Tampering
                   Conspiracy

                   Overview

             14.   At his proffer on September 11, 2018, Manafort admitted that he

conspired with Kilimnik to obstruct justice by tampering with witnesses, as charged

in the Superseding Indictment returned on June 8, 2018. As part of his guilty plea

before this Court, Manafort again admitted to conspiring with Kilimnik to obstruct

justice to tamper with two witnesses. Subsequently, in an interview on October 16,

2018, after his guilty plea, Manafort denied Kilimnik’s knowing involvement in the

conspiracy. That denial was false.

                   Manafort’s False and Misleading Statements about Kilimnik’s Role in
                   the Obstruction Conspiracy

             15.   During an interview with the government on October 16, 2018, Manafort

said that: Kilimnik did not believe that he was obstructing justice when he contacted



19   See Exhibit 17, E-mail, Oct. 30, 2018,              to             , with Attachment “Note.pdf”
20   See Exhibit 16,               302, Nov. 14, 2018, p.2 ¶2.


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                   (identified as Person D1 in the charging document) and

(identified as Person D2); in Kilimnik’s mind, he was only communicating

information; Kilimnik did not feel that he exerted any pressure; and to Kilimnik,

Europe was the fulcrum of the Hapsburg Group project.                      At the same session,

Manafort added that he talked with Kilimnik after Kilimnik was indicted, that

Kilimnik thought it was crazy that he had been charged, and that Manafort agreed

that it was outrageous. 21

       16.     The government notified Manafort’s counsel that it believed Manafort’s

statements were inconsistent with what he had previously said to the government

and allocuted to in court. The parties then took a break.

       17.     After speaking with his attorney, Manafort changed his account, and

stated that: he conspired with Kilimnik; at the time he pleaded guilty, Manafort

understood the elements of the conspiracy; Manafort and Kilimnik agreed to try to

have         say something that was not true; Kilimnik knew that the Hapsburg Group

performed work in the United States; Kilimnik messaged                            to get him to say

that the Hapsburg Group was Europe focused; and Kilimnik was guilty of obstruction

of justice because he was aware of the facts and agreed to knowingly violate the law.

Manafort told the government that he had not changed his statements, but the

government had been confused about what he had said.

               Proof that Manafort’s Statements Were False and Misleading



21Exhibit 10, P. Manafort 302, Oct. 16, 2018, p.6 ¶¶1-2. The defense has contended that Manafort did
not lie on this topic as he could not speak to Kilimnik’s state of mind. Sealed Response to OSC Breach
Submission, Jan. 7, 2019 (Doc. 470). However, Manafort did just that in the debriefings.


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       18.     Manafort’s October 16, 2018, statements attempting to exculpate

Kilimnik with respect to the charged obstruction of justice conspiracy are

contradicted by his statements during a September 11, 2018 proffer with the

government, his sworn statements before this Court during his guilty plea, his

corrected statements on October 16, 2018, as well as the underlying proof of the

conspiracy. 22 Manafort’s statement that he had not changed his story was also false,

as set forth above.

               The Superseding Indictment and Initial Proffer

       19.     On June 8, 2018, a grand jury sitting in the District of Columbia

returned a seven-count Superseding Indictment charging Manafort and Kilimnik. 23

Count Six charged Manafort and Kilimnik with attempted obstruction of justice,

pursuant to 18 U.S.C. §§ 1512(b)(1) and 2. 24 Count Seven charged both defendants

with conspiracy to obstruct justice pursuant to 18 U.S.C. § 1512(k). 25 Both counts

related to Manafort and Kilimnik’s efforts to persuade two witnesses, identified as

Person D1 (                and D2 (            to testify falsely

       20.     At the proffer on September 11, 2018, Manafort admitted his

involvement in the charges in the criminal prosecution pending in the District of




22 Exhibit 100, P. Manafort Statement, Sept. 11, 2018; Statement of the Offenses and Other Acts, ¶¶44-
46 and p.24, Sept. 14, 2018 (Doc. 423); Order, United States v. Manafort, No. 18-3037 (D.C. Cir. July
12, 2018) (Doc. 1740431); Opinion at pp.15-16, United States v. Manafort, No. 18-3037 (D.C. Cir. July
31, 2018) (Doc. 1743190) (“The District Court’s treatment of the EDVA Stay-Away Order was merely
part of the icing; the cake had already been baked.”)
23 Superseding Indictment, June 8, 2018 (Doc. 318).
24 Id., ¶¶48-49.
25 Id., ¶¶50-51.




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Columbia. With respect to the conspiracy to obstruct justice, Manafort stated the

following (reading from a written statement under the heading “Witness tampering”):

       -     In response to press reports concerning the Superseding Indictment

             I attempted to contact                     [sic], a former consultant that I

             had worked with regarding Ukraine political issues, through a group

             known as the Hapsburg Group.

       -     I left a message for                     [sic] emphasizing that his group

             was working in Europe.

       -     I contacted KK and requested that he reach out to                          [sic]

             and another member of the Hapsburg group to do the same.

       -     knowing that                     [sic] and the members of the Hapsburg

             group also directed their Ukrainian outreach into the United States

             and previously including meeting with members of the U.S.

             government.

       21.      Manafort’s counsel provided the written statement he read at the proffer

to the government and it is an exhibit hereto. 26

                Guilty Plea

       22.      Manafort more explicitly admitted Kilimnik’s role in the charged

conspiracy as part of his guilty plea before the Court. On September 14, 2018,

Manafort pled guilty to both counts charged in a Superseding Information: (a) a

conspiracy to defraud the United States (Count One), and (b) a conspiracy to obstruct


26Exhibit 101, P. Manafort 302, Sept. 11, 2018, p.1 ¶2; Exhibit 100, P. Manafort Statement, Sept. 11,
2018.


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justice (witness tampering)(Count Two). Count Two specifically named Kilimnik as

a conspirator (as did the original Superseding Indictment). Paragraphs 64 to 67 of

the Superseding Information detailed the allegations of the obstruction conspiracy.

In addition, as part of his plea agreement, Manafort admitted to a statement of facts.

Paragraphs 44 through 46 in the Statement Of The Offenses And Other Acts, which

he signed and initialed, also referenced the conspiracy with Kilimnik (and tracked

the Count Two allegations).

            23.   These documents set out that between February 23, 2018 and April

2018, Manafort conspired with Kilimnik to tamper with two witnesses – described as

Person D1 (                  and Person D2 (                – with respect to their potential

testimony about the Hapsburg Group and its activity in the United States, namely to

induce each to testify falsely that the Hapsburg Group did not involve work in the

United States (thus not violating the Foreign Agents Registration Act).

            24.   As required by the Court at his guilty plea proceeding, Manafort

acknowledged the facts in the Statement Of The Offenses And Other Acts to be true. 27

     III.         Interactions with Kilimnik

                  Overview of Interactions Between Manafort and Kilimnik

            25.   Beginning on August 2, 2016, and continuing until March 2018,

Manafort and Kilimnik communicated about a Ukraine peace plan. Manafort and

Kilimnik discussed the peace plan in August 2016, December 2016, January 2017,


27Tr. of Plea Hearing at pp.34-35, Sept. 14, 2018 (Doc. 424), acknowledging government recitation of
the offenses and the facts in the Statement Of The Offenses And Other Acts (“And did you also, in fact,
conspire with at least one other person to obstruct justice by tampering with witnesses concerning the
FARA allegations in 2018?’ And the defendant responded: “I did.”)


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February 2017, and winter 2018. The discussions on August 2, 2016, on or around

January 19, 2017, and          February 26, 2017, were in person.

       26.     The Ukraine peace plan entailed

               returning to Ukraine to oversee what would be a newly-created

autonomous region of eastern Ukraine, which is a comparatively heavily

industrialized area of Ukraine. 28                       had been living in exile in Russia

since he fled Ukraine in 2014. 29

       27.     In addition, as discussed below, Manafort told his employee Richard

Gates to share internal polling data with Kilimnik during the 2016 Presidential

campaign.

               Manafort’s False and Misleading Statements about the Fact And
               Frequency Of His Discussions Of The Ukraine Peace Plan With
               Kilimnik

       28.     Over the course of several interviews and in the grand jury, Manafort

gave various accounts concerning his communications with Kilimnik about the

Ukraine peace plan.

       29.     In an interview on September 11, 2018, Manafort said that at an in-

person meeting in New York City on August 2, 2016, Kilimnik raised the concept of




28 Exhibit 200, E-mail, Dec. 8, 2016, K. Kilimnik to K. Kilimnik; Exhibit 201 E-mail, Feb. 21, 2018, P.
Manafort to                            .
29 Exhibit 200, E-mail, Dec. 8, 2016, K. Kilimnik to K. Kilimnik. See generally Exhibit 202, E-mail,

July 29, 2016, P. Manafort to K. Kilimnik; Exhibit 203, E-mail, July 31, 2016, P. Manafort to K.
Kilimnik; Exhibit 204, K. Kilimnik CBP Record, Aug. 2, 2016,; Exhibit 200, E-mail, Dec. 8, 2016, K.
Kilimnik to K. Kilimnik; Exhibit 201, E-mail, Feb. 21, 2018, P. Manafort to                           ,
p. 4; Exhibit 205, E-mail,. Feb. 19, 2018,                      , p. 1.



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the Ukraine peace plan with him. 30 According to Manafort, he told Kilimnik that the

idea was crazy and that the discussion on the subject ended. 31 Manafort stated he

did not recall Kilimnik asking Manafort to reconsider the peace plan after August

2. 32

        30.    During debriefings on September 11 and 12, 2018, Manafort was shown

a December 2016 Kilimnik e-mail. The e-mail described the peace plan. 33 Manafort

admitted that he had seen the e-mail, as Kilimnik would only have been

communicating on this with Manafort. 34

        31.    The government questioned Manafort about the December 2016 e-mail,

noting that on its face it did not indicate that the August 2016 meeting had ended the

discussion about the plan and the tenor of the December e-mail did not suggest that




30 The August 2, 2016 meeting came about as a result of communications between Kilimnik and
Manafort setting up the meeting. Kilimnik flew to the United States for the specific purpose of
attending this meeting. The week before August 2, Kilimnik e-mailed Manafort asking for the
meeting. Kilimnik was in Russia, where he indicated he had met with                           Kilimnik
requested to speak with Manafort in person because of an important message he had for him, which
would take several hours to convey. Kilimnik flew from Moscow to New York on August 2, and met
with Manafort that evening at the Grand Havana Club for dinner. Gates arrived late for the meeting.
See Exhibit 202, E-mail, July 29, 2016, P. Manafort to K. Kilimnik; Exhibit 203, E-mail, July 31, 2016,
P. Manafort to K. Kilimnik; Exhibit 204, K. Kilimnik CBP Record, Aug. 2, 2016.
31 Exhibit 101, P. Manafort 302, Sept. 11, 2018, p.4 ¶3; Exhibit 4, P. Manafort Grand Jury Testimony,

Oct. 26, 2018, p. 109:24 – 110:5.


           Exhibit 206, P. Manafort 302, Sept. 12, 2018, p.4 ¶4.
32 Exhibit 101, P. Manafort 302, Sept. 11, 2018, p.5 ¶1 (“Manafort does not recall Kilimnik asking
Manafort to reconsider the peace plan after their August 2 meeting.”)
33 Exhibit 200, E-mail, Dec. 8, 2016, K. Kilimnik to K. Kilimnik (e-mail begins




                                                       Exhibit 4, P. Manafort Grand Jury Testimony,
Oct. 26, 2018, pp. 38:20 – 39:5.
34 Exhibit 101, P. Manafort 302, Sept. 11, 2018, p.6 ¶2; Exhibit 206, Manafort 302, Sept. 12, 2018, p.1

¶3; Exhibit 207, R. Gates 302, Feb. 27, 2018, p.2 ¶1.



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Kilimnik was seeking to have Manafort reconsider his strong adverse reaction. On

September 12, Manafort admitted that he did not cut off Kilimnik on August 2, and

that Kilimnik’s December 2016 e-mail summarized what Kilimnik had presented at

the August 2 meeting. 35             Manafort added that Manafort and Kilimnik last

communicated about the peace plan in March or April 2017, when they discussed who

would control the plan, rather than what the plan entailed. 36

        32.     In the grand jury, on October 26, 2018, Manafort admitted,




                The January 2017 Meeting

        33.     During his September 11, 2018 interview, Manafort stated that he met

Kilimnik and                            at a hotel in Alexandria at the time of the inaugural

events in January 2017. 38          Manafort stated that they talked about updates as to

what was happening in Ukraine, the new United States Administration, and money

that Manafort believed                      owed him. 39




35 Exhibit 206, P. Manafort 302, Sept. 12, 2018, p.4 ¶5.
36 Id., p.5 ¶2.
37 Compare Exhibit 4, P. Manafort Grand Jury Testimony, Oct. 26, 2018, p. 110:1-7; wth Id., pp. 43:11-

44:16 (

                                              .”)
38 Exhibit 101, P. Manafort 302, Sept. 11, 2018, pp. 7-8. Kilimnik and                came to the United
States because they had obtained tickets to the inauguration through                      . Statement of
Offense at pp. 3-4, United States v. Patten, 18-cr-260, (D.D.C. Aug. 31, 2018) (Doc. 7). Kilimnik arrived
in the United States on January 19, 2017 and departed on January 22, 2017. Exhibit 208, K. Kilimnik
CBP Records, Jan. 19, 2017 and Jan. 22, 2017.
39 Exhibit 101, P. Manafort 302, Sept. 11, 2018, pp. 7-8.




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       34.     Subsequently, during a September 21, 2018, debriefing, Manafort stated

that during their January 2017 meeting                          did not present a plan for the

Ukraine or ask Manafort for anything. 40

       35.     During his grand jury testimony on October 26, 2018, Manafort testified

that




               The February 2017 Madrid Meeting

       36.     In his debriefings, Manafort was asked about a trip he took to Madrid

in February 2017.

       37.     In the September 11, 2018, session, Manafort said he travelled to

Madrid for Telefonica business. Manafort said he did not meet with Kilimnik in

Madrid. 42

       38.     On September 12, Manafort was again asked if he met with Kilimnik in

Madrid in February 2017. Manafort said that he had no memory of meeting Kilimnik

in Madrid. When told that Kilimnik flew to and from Moscow and Madrid in a 24-



40 Exhibit 209, P. Manafort 302, Sept. 21, 2018, p.3 ¶3.
41 Exhibit 4, P. Manafort Grand Jury Testimony, Oct. 26, 2018, pp. 44-46.
42 Exhibit 101, P. Manafort 302, Sept. 11, 2018, p.7 ¶4.




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hour period that overlapped with when Manafort was in Madrid, Manafort stated he

did not recall meeting Kilimnik, but if Kilimnik was in Madrid at the same time, then

it was to meet with Manafort. 43 (Travel records show Kilimnik departed Moscow for

Madrid on February 26 at 7:05 a.m. and arrived back in Moscow on February 27 at

7:05 a.m. 44)

       39.      During an interview on September 13, Manafort said that in fact he did

meet Kilimnik in Madrid. Manafort asked Kilimnik to come to Madrid to discuss

information on the work of the Ukrainian National Anti-Corruption Bureau and

                                                 activities. Manafort stated he did not ask

Kilimnik to Madrid in order to talk about the peace plan but Kilimnik would have

raised it. 45

       40.      During Manafort’s grand jury testimony on October 26, Manafort

testified that




                2018 Ukraine Polling Questions About the Peace Plan

             o Background on the Poll




43 Exhibit 206, P. Manafort 302, Sept. 12, 2018, p.5 ¶6.
44 Kilimnik took the 5-hour flight from Moscow to Madrid on 2/26/2017, and returned to Moscow early
on the morning of 2/27/2017. Exhibit 210, E-mail, Feb. 21, 2017,                     to K. Kilimnik,
(attaching travel itinerary for Kilimnik).
45 Exhibit 301, P. Manafort 302, Sept. 13, 2018, p.1 ¶¶ 3-4.
46 Exhibit 4, P. Manafort Grand Jury Testimony, Oct. 26, 2018, pp. 19:19-22, 68:14-18.




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          41.     Manafort was asked in the grand jury about his work in 2018 on

                                                                                       . Manafort

had not mentioned the questions regarding the peace plan during any of his twelve

interviews and had said he had last discussed the peace plan with Kilimnik in spring

2017.

          42.     Records establish that on February 16, 2018, Manafort had executed a

contract to provide consulting services to                                         regarding his

potential candidacy in the 2019 Ukraine Presidential election. 47                    The contract

included conducting a national poll in Ukraine. 48

          43.     On February 21, 2018, Manafort e-mailed                      and

(who worked with                        two veteran pollsters with whom Manafort had

previously worked, a document entitled “New initiative for Peace copy.docx.” 49 The

document properties show it was created by Kilimnik and modified by Manafort. 50

Manafort testified that                  sent him the document. 51

          44.     The plan proposed an autonomous region in Eastern Ukraine (known as

the Donbass) with                          as an optimal candidate for Prime Minister. 52

Manafort admitted in the grand jury that this document described the




47   Exhibit 211, Consulting Agreement, Feb. 16, 2018.
48



                             Exhibit 4, P. Manafort Grand Jury Testimony, Oct. 26, 2018, p. 77:11-22;
Exhibit 212,              , Oct. 30, 2018, p. 3 ¶¶5-6.
49 Exhibit 201, E-mail, Feb. 21, 2018, P. Manafort to                       .
50 Exhibit 213, “New initiative for Peace,” Feb. 10, 2018.
51 Exhibit 4, P. Manafort Grand Jury Testimony, Oct. 26, 2018, pp. 138-139.
52 Exhibit 201, E-mail, Feb. 21, 2018, P. Manafort to        and            , p. 4.



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          45.            told the government that he was primarily responsible for drafting

the proposed Ukraine poll. 54                based his questions on directions given to him by

Manafort, and then sent the drafts to Manafort for his review. 55                           For example,

Manafort instructed                    “I want to test         as an acceptable player to the

Ukrainian people (vs leadership) to assist in bringing peace to DONBASS.” 56

Manafort also received input from Kilimnik. For instance, on February 19, 2018,

Manafort sent                       comments that Manafort received from Kilimnik on the

proposed poll. 57 Similarly, on March 9, Manafort included Kilimnik’s notes on “draft

4” of the survey. 58 Several of the questions in the draft poll addressed the peace plan

and                      role. 59



                  Manafort’s grand jury testimony




53   Exhibit 4, P. Manafort Grand Jury Testimony, Oct. 26, 2018, pp. 139-143.
54   Exhibit 214,            302, Nov. 6, 2018, p.1 ¶3; Exhibit 212,       302, Oct. 30, 2018, p.3 ¶¶1-
2.
55 Exhibit 215,          302, Oct. 22, 2018, p.2 ¶2.
56 Exhibit 216, E-mail, Feb. 21, 2018, P. Manafort to         and                 , p. 1.
57 Exhibit 205, E-mail, Feb. 19, 2018,             to       , p. 1.
58 Exhibit 218, E-mail, Mar. 9, 2018, P. Manafort to             and          .
59 Exhibit 217, E-mail, Mar. 9, 2018,             to P. Manafort and                  , pp. 10-11. See also
questions on p. 12 regarding




                        Exhibit 218, E-mail, Mar. 9, 2018, P. Manafort to             and            , p. 1.



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       46.     In the grand jury, Manafort testified that he sought to




       47.     Manafort was asked in the grand jury




                      Manafort explained that he had not told



       48.     Manafort was then asked what




                After a lunch break,




               Manafort’s False and Misleading Statements about Directing Gates to
               Share Internal Campaign Polling Data with Kilimnik

60 Exhibit 4, P. Manafort Grand Jury Testimony, Oct. 26, 2018, pp. 105:17-23, 128-29, 144.
61 Id., p. 87.
62 Exhibit 218, E-mail, Mar. 9, 2018, P. Manafort to           and            p. 8.
63 Exhibit 4, P. Manafort Grand Jury Testimony, Oct. 26, 2018, pp. 88, 94, 96-97, 112:16-20.
64 Id., pp. 98-99.
65 Id., pp. 112-113; Exhibit 205, E-mail, Feb. 19, 2018,         to          , p. 1.
66 Exhibit 4, P. Manafort Grand Jury Testimony, Oct. 26, 2018, pp. 112-114.
67 Id., p. 119:16-19.




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       49.     During his interview on September 11, 2018, Manafort stated he did

not share information with Kilimnik which Manafort did not otherwise share

publicly. 68 During Manafort’s grand jury testimony on October 26, in response to a

question as to whether

Manafort responded:




                                           Manafort further testified:




               Proof of Manafort’s False and Misleading Statements

       50.     With respect to the communications about the peace plan, the

government notes the following additional facts.




68 Exhibit 101, P. Manafort 302, Sept. 11, 2018, p.5 ¶2.
69 Exhibit 4, P. Manafort Grand Jury Testimony, Oct. 26, 2018, p. 153:7-16, 156:23-157:13.
   Id., pp. 153, 156:23-157:13; Exhibit 224, E-mail, July 8, 2016, K. Kilimnik to P.
Manafort.
71 Id., p. 156:1-8.




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        51.     Manafort’s grand jury testimony that

                                      contradicted statements he made during a debriefing

on October 11, 2018. Manafort told the government that when first approached by

              in mid-2017 that Manafort called Kilimnik to ask him about                              . 72

Kilimnik said                   was not a first tier candidate and could not get enough

support so Manafort turned down                             After Manafort decided to work for

              and after                did not pay for the poll, Manafort said he ultimately

assessed                  potential candidacy based on information Kilimnik collected by

talking with people. 73

        52.     The initials for                                are     the initials for             (or

                      would be “          or “          not “     ” 74 Further, Manafort himself

referred to                  as “       in a number of e-mails, and Kilimnik referred to

                          ” in the same e-mail in which he also                                      .” 75

Further,                            told the government they were not asked to keep a name

from Kilimnik (and did not know the client’s name). 76                                    and

statements are supported by a February 21, 2018, e-mail in which                             asked for

the name of the client and Manafort responded that “I will add his name to the draft

[poll] that you give to me.” 77 However, no such draft was provided.



72 Exhibit 238, P. Manafort 302, Oct. 11, 2018, p.3 ¶2.
73 Id., p.4 ¶1.
74 See Exhibit 18, P. Manafort Grand Jury Testimony, Nov. 2, 2018, pp. 7-8.
75 Exhibit 219, E-mail, May 4, 2018, P. Manafort to             ; Exhibit 220, E-mail, March 26, 2018, P.
Manafort to            , p. 1.; Exhibit 205, E-mail, February 19, 2018,               to        (compare
             answers in red to items 1 and 2).
76 Exhibit 212,           302, Oct. 30, 2018, p.3 ¶3; Exhibit 214,             302, Nov. 6, 2018, p.2 ¶4.
77 Exhibit 221, E-mail, Feb. 21, 2018,            to P. Manafort and             , p. 1.


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        53.     With respect to the internal campaign polling data, evidence (including

e-mails and testimonial evidence) indicates that Manafort directed Gates to give

this information to Kilimnik.

        54.     During interviews with Gates, Gates told the government that he was

instructed by Manafort to send polling data on a regular basis to Kilimnik

throughout the campaign, starting in April or early May 2016. 78 Gates provided

Kilimnik a mix of public polls and the campaign’s                         polling data based on

what Manafort thought looked good. On multiple occasions, Gates and Manafort

would receive a poll and Manafort would tell Gates to send it to Kilimnik based on

the poll’s content. 79

        55.     In addition, Kilimnik sent e-mails from July 27 through August 19,

2016, that referenced his access to internal campaign polls. In eight separate e-

mails during that period, Kilimnik cited his access to internal polling data from the

campaign. 80

        56.     Finally, as noted, on the evening of August 2, 2016, Manafort met with

Kilimnik at the Grand Havana Club in New York City. Gates attended, but arrived

late. On the morning of the meeting, Manafort sent Gates an e-mail with the

subject: “Print out and bring to our SCh [sic] meeting” and the attachment to the e-


78 Exhibit 222, R. Gates 302, Jan. 31, 2018, p.17 ¶3-4.
79 Exhibit 223, R. Gates 302, Sept. 27, 2018, p. 2 ¶3-5.
80 Exhibit 225, E-mail, July 27, 2016, K. Kilimnik to           ; Exhibit 226, E-mail, Aug. 18, 2016, K.
Kilimnik to        ; Exhibit 227, E-mail, Aug. 18, 2016, K. Kilimnik to             ; Exhibit 228, E-mail,
Aug. 18, 2016, K. Kilimnik to           ; Exhibit 229, E-mail, Aug. 18, 2016, K. Kilimnik to
        Exhibit 230, E-mail, Aug. 18, 2016, K. Kilimnik to                ; Exhibit 231, E-mail, Aug. 18,
2016, K. Kilimnik to            ; Exhibit 232, E-mail, Aug. 19, 2016, K. Kilimnik to            . All seven
e-mails from August 2016 contain the following text: “Trump’s internal polling shows….”



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mail was an Excel document with 18 tabs. The document was                                internal

polling data for the presidential campaign.81 A review of Manafort and Gates’s e-

mails confirmed that both received this polling data from                        on July 1 and

July 1 , respectively.82

     IV.         Another DOJ Investigation

                 Overview

           57.




           58.   Manafort gave different versions of events surrounding an incident in

the summer 2016 that was potentially relevant to the investigation: one version that

was more incriminating was given prior to signing the plea agreement (on September

13, 2018), and another that was more benign was made after on October 5, 2018, after

his plea. When confronted with the inconsistency by the government and his own

counsel, Manafort largely retracted the second version.

                 Manafort’s False and Misleading Statements




81 Exhibit 233, E-mail, Aug. 2, 2016, P. Manafort to R. Gates; Exhibit 236, R. Gates 302, Jan. 30, 2018,
p. 3 ¶5.
82 Exhibit 234, E-mail, July 17, 2016,             to P. Manafort; Exhibit 235, E-mail, July 15, 2016,
            to R. Gates.
83 See United States v. Cohen, 18-cr-602 (S.D.N.Y. 2018); Information, United States v. Cohen, 18-cr-

602 (S.D.N.Y Aug. 21, 2018) (Doc. 2).



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          59.     During an interview on October 5, 2018, which included representatives

of                  , Manafort addressed the aforementioned incident. Manafort gave an

anodyne version of the incident. He said he received a call from                           after




                                                               . The conversation was part of a

longer meeting on other subjects. 85 Manafort said that

                                                       In the debriefing, Manafort did not state



          60.     At this point in the debriefing, Manafort’s attorneys gave him a

typewritten document to read, representing it was notes of what Manafort previously

told the government on the subject. Manafort then stated that around the same time

that                                                       called Manafort about

and it was

                Manafort stated he believed

                              Manafort stated he did not know of




85   Exhibit 300, P. Manafort 302, Oct. 5, 2018, p.1 ¶2.




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      61.    Manafort again reviewed the typewritten document.       Manafort then

stated that in the call he received from




      62.    At this point in the interview, Manafort’s attorneys requested a break

to speak with Manafort. After the break, Manafort again described the incident with

a narrative close to what Manafort had told the government during his September

13, 2018 proffer (described below), including the urgency



             Proof of Manafort’s False and Misleading Statements

      63.    On September 13, 2018, Manafort provided information about

                      The issue arose in connection with the government’s asking

Manafort about a series of text messages




      64.    Manafort stated that the text may have related to a




                                           25
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         65.   Manafort said that after the




         66.   Manafort stated that after this meeting, but prior to his leaving the

campaign (on August 19),

not how it was handled. 91 Manafort noted that subsequent to his call




    V.         Manafort’s Contact with the Administration

               Overview




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       67.     Manafort told the government that he did not have any contact, direct

or indirect, with any member of the Administration and did not try to have such

contact.      Evidence      demonstrates       that    Manafort’s       statements     were     false.

Documentary evidence establishes that Manafort agreed to have messages sent to

the Administration, including about Administration

           Gates has also said that Manafort told Gates about his contact with the

Administration.       And during his grand jury testimony, when confronted with

documents, Manafort admitted



               Manafort’s False and Misleading Statements Regarding Contact with
               the Administration

       68.     Manafort stated on several occasions that he never spoke to anyone in

the Administration, either directly or indirectly. For instance, during an interview

with the government on October 16, 2018, Manafort stated he had no direct or

indirect communications with anyone in the Administration while they were in the

Administration, and that he never asked anyone to try to communicate a message to

anyone in the Administration on any subject matter.                94   Manafort stated that he

spoke with certain individuals before they worked for the Administration and after

they left the Administration, but not while they were in the Administration. 95




93 This is not a complete listing of such contacts Manafort had with Administration officials. Further,
for the purposes of proving the falsity of Manafort’s assertions in this section, the government is not
relying on communications that may have taken place, with Manafort’s consent, through his legal
counsel. We previously so advised the defense.
94 See Exhibit 10, P. Manafort 302, Oct. 16, 2018, p.2 ¶5.
95 See id.




                                                  27
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               Proof that Manafort’s Statements Were False and Misleading

       69.     Evidence demonstrates that Manafort had contacts, and tried to have

contacts, through others, with the Administration. Indeed, Manafort ultimately

conceded




       70.     Further, during his grand jury testimony, Manafort was asked about




96 Exhibit 4, P. Manafort Grand Jury Testimony, Oct. 26, 2018, p. 215.
97 Exhibit 400, Text Message, March 7, 2018, P. Manafort to            , p. 1.
98 Id.
99 Exhibit 4, P. Manafort Grand Jury Testimony, October 26, 2018, p. 224.




                                                  28
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       71.     Further, in May 2018, Manafort was involved in an effort to lobby

members of the Administration on a matter before the Department of Labor. From

May 3 to June 4, 2018, Manafort exchanged text messages with two associates,

              and         regarding lobbying senior United States government officials

regarding the Employee Retirement Income Security Act (ERISA). 102 Additionally, a

Word document was identified in Manafort’s iCloud that referenced “Erisa,” dated

May 15, 2018 and, per the metadata, was authored and edited by Manafort. 103

Under a section titled “Targets,” a bullet point stated “ISSUE: PJM [Manafort] will

find out if             did her bit and get her to call          ” 104 When asked during grand

jury testimony about                        , Manafort stated


100 Id.,
101 Exhibit 401,
102 Exhibit 402, P. Manafort,                and         Text Messages, May 3 – June 4, 2018, pp. 2-4.
ERISA is a federal statute that sets minimum standards for most voluntarily established retirement
and health plans in the private industry to provide protection for individuals in these plans
(www.dol.gov/general/topic/retirement/erisa, accessed on Nov. 26, 2018). Another Word document in
Manafort’s iCloud, also from May 2018, details a proposal to modify regulations regarding ERISA,
outlines ways it can be done by Executive Order, and ways it has hurt GOP voters. Exhibit 403,
“Concept: Proposed Reg Modifying 29 CFR 2510.3-3 (ERISA),” May 12, 2018, p. 1.
103 Exhibit 404, “DD Notes 5-15-.docx,” May 15, 2018.
104 Id. In the Word document, several individuals are referenced by initials or last names and I have

reason to believe they are references to the following individuals:




                                                 29
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                                                                               . When asked

if he reached out to




       72.     Further, on May 26, 2018,                     texted Manafort and asked him:

“If I see POTUS one on one next week am I ok to remind him of our relationship?”

Manafort responded to the text, “[y]es” and “[e]ven if not one on one.” 106 During

Manafort’s grand jury testimony, he confirmed




       73.     In addition to this documentary evidence, Gates has told the

government in debriefings that in approximately January 2017, Manafort told Gates

that he was using intermediaries, including                     to get people appointed in the

Administration. Manafort said he was talking to




105 Exhibit 4, P. Manafort Grand Jury Testimony, Oct. 26, 2018, p. 227:1-6.
106 Exhibit 405,              and P. Manafort Text Messages, May 26, 2018
107 Exhibit 4, P. Manafort Grand Jury Testimony, Oct. 26, 2018, pp. 227-228.




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